September 08, 2006


Mr. Michael C. Crowley
Potts &amp; Reilly, L.L.P.
401 West 15th Street, Suite 850
Austin, TX 78701

Ms. Nancy K. Juren
Office of Attorney General of Texas
P.O. Box 12548
Austin, TX 78711-2548
Ms. Margaret A. Wilson
Potts &amp; Reilly, L.L.P.
1514 West 31st Street
Austin, TX 78703

Ms. Joyce Wein Iliya
Assistant Attorney General/Consumer Division
1412 Main Street, Suite 810
Dallas, TX 75202

RE:   Case Number:  06-0789
      Court of Appeals Number:
      Trial Court Number:  DV-03-12307-L

Style:      INTERNATIONAL ASSOCIATION FOR COLON HYDROTHERAPY
      v.
      STATE OF TEXAS

Dear Counsel:

      Today the Supreme Court of Texas denied  the  petition  for  emergency
relief and the direct appeal in the above-referenced case.
                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

|cc:|Mr. Jim      |
|   |Hamlin       |

